 

 

Case 6:17-bk-04429-LVV Doc 31 Filed 05/30/18 Page1of5

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

In re: CASE NO.: 6: 17-bk-04429

CHAPTER 13
Victor and Lorna Ruiz

Debtor(s).

 

NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested, in this paper without further notice or
hearing unless a party in interest files a response within (21) days from the date set forth on the attached proof of
service, plus an additional three days for service if any party was served by U.S. Mail.

If you object to the relief requested in this paper, you must file your objection with the Clerk of the Court at George
C. Young Federal Courthouse, 400 West Washington Street, Suite 5100, Orlando, FL 32801, and serve a copy of the
same on the Movant’s attorney, Sophia Dean 12301 Lake Underhill Rd. Suite 213 Orlando, FL 32828 If you file and
serve an response within the time permitted the Court will either schedule and notify you of a hearing or consider
the response and grant or deny the relief requested without a hearing.

If you do not file a response within the time permitted, the Court will consider the you do not oppose the relief
requested in the paper, will proceed to consider the paper without further notice or hearing and my grant the relief

requested.

 

MOTION TO MODIFY CONFIRMED CHAPTER 13 PLAN

COMES NOW the Debtors, Victor and Lorna Ruiz and file this Motion to Modify Order
Confirming Chapter 13 Plan and, as grounds in support of this Motion, state as follows:
I This case was filed on June 30, 2017, and the Order Confirming Chapter 13 Plan

was entered on December 13, 2017.

2; After filing their 2017 Federal Income Tax Return, Debtors were informed that
they owed taxes for the 2017 tax year in the amount of $5,742.

3, Debtors propose that their Chapter 13 Plan be modified in accordance with the
disbursements shown on Exhibit “A” attached hereto.

4, No creditor will be prejudiced by this modification.

WHEREFORE, Debtors move this Court for a modification of the Order Confirming
Chapter 13 Plan as stated herein, and for such other relief as the Court deems appropriate.

 
Case 6:17-bk-04429-LVV Doc 31 Filed 05/30/18 Page 2of5

Chapter 13 Plan as stated herein, and for such other relief as the Court deems appropriate.

Date: 9/23 5 VES V

Victor Ruiz 0
Debtor i) we, ©
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Lorna Ruiz

Debtor

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that I have forwarded a true and correct copy of the foregoing
Motion to Modified Confirmed Chapter 13 Plan via electronically or U.S, Regular Mail, postage

prepaid all parties in interest and creditors listed on the Court’s mailing matrix attached hereto,

this Oday of May 2018.

/S/ Sophia Dean

Sophia Dean, Esq.

Florida Bar No. 92295

THE ORLANDO LAW GROUP, PL
12301 Lake Underhill Rd. Suite 213
Orlando, Florida 32828

Tel: (407) 512-4394

Fax: (407) 955-4654

E-Mail: Sdean(@theorlandolawgroup.com
Case 6:17-bk-04429-LVV Doc 31 Filed 05/30/18 Page 3of5

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Case 6:17-bk-04429-LVV Doc 31 Filed 05/30/18 Page4of5

Label Matrix for local noticing
113A-6

Case 6:17-bk-04429-ABB

Middle District of Florida
Orlando

Wed May 30 12:07:47 EDT 2018

Arvest Bank

c/o Sharon L. Stolte

Sandberg Phoenix & von Gontard P.C.
4600 Madison Avenue, Suite 1250
Kansas City, MO 64112-1283

COMENITY CAPITAL BANK
C/O Weinstein & Riley P.S.
2001 Western Ave Ste. 400
Seattle, WA 98121-3132

Credit First N.A
po box 81344
Cleveland, OH 44188-0001

Discover Card
PO BOX 71084
Charlotte, NC 28272-1084

Florida Department of Revenue
Bankruptcy Unit

Post Office Box 6668
Tallahassee FL 32314-6668

Nelnet

Claims

P.O. Box 82505
Lincoln, NE 68501-2505

(p) PORTFOLIO RECOVERY ASSOCIATES LLC
PO BOX 41067
NORFOLK VA 23541-1067

U.S, Department of Education C/O Nelnet
121 § 13TH ST, SUITE 201
LINCOLN, NE 68508-1911

Laurie K Weatherford
Post Office Box 3450
Winter Park, FL 32790-3450

United States Trustee - ORL7/13 7
Office of the United States Trustee
George C Young Federal Building

400 West Washington Street, Suite 1100
Orlando, FL 32801-2210

Bank Of America
po box 851001
Dallas, TX 75285-1001

Capital One
PO Box 30285
Salt Lake City, UT 84130-0285

Credit First NA
PO Box 818011
Cleveland OH 44181-8011

First National Bank of Omaha
1620 Dodge Street, Stop code 3105
Omaha, NE 68197-0002

Home Depot
2455 Paces Ferry Road NW
Atlanta, GA 30339

PNC BANK, N.A.
PO BOX 94982
CLEVELAND, OHIO 44101-4982

Quantum3 Group LLC as agent for
MOMA Funding LLC

PO Box 788

Kirkland, WA 98083-0788

paypal
po box 105658
Atlanta, GA 30348-5658

Lorna Lee Ruiz
1344 Twin Rivers Bend
Oviedo, FL 32766-5081

Arvest Bank
PO Box 298
Lowell, AR 72745-0298

Bank of America, N.A.
PO Box 982284
El Paso, TX 79998-2284

Chase- Amazon
po box 1423
Charlotte, NC 28201-1423

Discover Bank

Discover Products Inc

PO Box 3025

New Albany, OH 43054-3025

First National Bank of Omaha
po box 2557
Omaha, NE 68103-2557

Internal Revenue Service
Post Office Box 7346
Philadelphia PA 19101-7346

PNC Bank
PO Box 747066
Pittsburgh, PA 15274-7066

Seminole County Tax Collector
Attn: Ray Valdes

Post Office Box 630

Sanford FL 32772-0630

rooms to go
po box 965030
Orlando, FL 32896-5030

Sophia Cabacum Dean

The Orlando Law Group PL

12301 Lake Underhill Road, Suite 213
Orlando, FL 32828-4511
Case 6:17-bk-04429-LVV Doc 31 Filed 05/30/18 Page5of5

Victor Ruiz
1344 Twin Rivers Bend
Oviedo, FL 32766-5081

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.P. 2002 (g) (4).

Portfolio Recovery Associates, LLC End of Label Matrix
POB 41067 Mailable recipients 30
Norfolk VA 23541 Bypassed recipients 0

Total 30
